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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:08CR438
                                               )
               Plaintiff,                      )
                                               )
               vs.                             )              TENTATIVE FINDINGS
                                               )
TORONE RUSSELL,                                )
                                               )
               Defendant.                      )

       The Court has received the Revised Presentence Investigation Report (“PSR”) in

this case. The parties have not objected to the PSR. See Order on Sentencing Schedule,

¶ 6. The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 2005 WL 50108 (U.S. Jan. 12,

2005), the sentencing guidelines are advisory.

       The Defendant has filed two motions for downward departure and supporting briefs.

(Filing Nos. 137, 139, 143, 144.) The motions will be heard at sentencing.

       IT IS ORDERED:

       1.      The parties are notified that my tentative findings are that the PSR is correct

in all respects;

       2.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;
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      3.     Absent submission of the information required by paragraph 2 of this Order,

my tentative findings may become final;

      4.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing; and

      5.     The Defendant’s motions for downward departure (Filing Nos. 137, 143) will

be heard at sentencing.

      DATED this 26th day of June, 2009.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge




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